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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA,
                                             1:18-cv-11642-VM-DCF
                         Plaintiff,
           -against-
                                             JURY TRIAL DEMANDED
LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI, ROLAND WU, and
ZEMIN XU,

                         Defendants




                        SECOND AMENDED COMPLAINT
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        Plaintiff Wayne Baliga (“Plaintiff”), a purchaser and holder of American Depository

Shares of Link Motion Inc. (“LKM” or the “Company,” formerly known as NQ Mobile Inc. (“NQ

Mobile”)), between January 21, 2014 and January 18, 2019, both dates inclusive (the “Relevant

Period”), as alleged below, brings this action against LKM, Vincent Wenyong Shi (“Shi”), Roland

Wu (“Wu”), and Zemin Xu (“Xu”) (collectively, “Defendants”) to recover damages and equitable

relief arising out of Defendants’ violations of the federal securities laws and state common law.

        Plaintiff alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s

own acts and upon information and belief as to all other matters based on the investigation

conducted by and through Plaintiff’s attorneys, which included, among other things, a review of

LKM’s corporate filings with Securities and Exchange Commission (“SEC”), various other LKM

corporate filings in the U.S., China, and the Cayman Islands, media, analyst, and news reports

about the Company, as well as interviews with LKM shareholders. The investigation of facts

pertaining to this case is ongoing. Plaintiff believes that additional evidence will support the

allegations herein after a reasonable opportunity for discovery.

   I.        SUMMARY OF THE ACTION

        1.     This is an action to recover significant investment and corporate losses suffered as

a result of a massive, multi-year fraud which led Plaintiff and investors to believe that LKM was

engaging in various legitimate hundred-million dollar corporate transactions meant to bolster the

Company’s capital position and increase shareholder value. These transactions were fraudulent.

In reality, these transactions were engineered by Defendant Shi, the Company’s Chairman, for the

purpose of looting LKM’s most valuable assets and lining Defendant Shi’s pockets. Defendants’

conduct not only harmed investors, like Plaintiff, who relied on Defendants’ various misstatements




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and omissions concerning the various corporate transactions entered into by LKM, but also harmed

the Company which found itself fleeced of its most valuable and revenue-generating assets.

       2.      By the end of 2016, LKM was generating hundreds of millions of dollars a year in

revenue, in large part because of the success of two of its corporate assets, FL Mobile Jiutian

Technology Co., Ltd. (“FL Mobile”), a developer, publisher, and operator of games for mobile

phones, and Beijing Showself Technology Co., Ltd. (“Showself”), a mobile social media video

platform. At that time, the Company’s American Depository Shares (“ADS”) were trading at

around $4.00 per share, and the Company had market capitalization in the billions of dollars.

       3.      However, during that same time, Defendant Shi found himself in a precarious

position. He was the subject of an internal corporate investigation arising out of his fraudulent

ouster of LKM’s co-founder, Henry Lin (“Lin”), subjecting Shi to the potential of his being

removed from the Company. Moreover, Shi was also personally liable for millions of dollars in

connection with a corporate debt owed by LKM to Zhongzhi Hi-Tech Overseas Investment Ltd.

(“Zhongzhi”), an international investment fund and institutional investor in China. Shi also owed

millions of dollars to LKM in connection with a debt the Company held over an entity owned and

controlled by Shi.

       4.      In order to free himself of this debt, Shi proceeded to exploit the Company and its

most valuable assets and engaged in a number of fraudulent and self-dealing transactions from

which he benefitted and the Company and its shareholders suffered. Specifically, Shi used two of

LKM’s most valuable assets, FL Mobile and Showself, to get himself off the hook. In March

2017, LKM announced that it had entered into a transaction with Tongfang Investment Fund Series

SPC (“Tongfang SPC”) by which, for over $500 million, LKM would transfer its equity interests

in these assets to Tongfang SPC.



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       5.      However, this transaction (the “Tongfang Transaction”) was a fraud. To make the

transaction appear to be a bona fide deal between two legitimate, well-funded parties, Defendants

repeatedly represented to investors that LKM was selling its assets to an affiliate of Tsinghua

Tongfang, the China-based computing giant worth billions of dollars. It was not. Tongfang SPC

has no relationship to Tsinghua Tongfang. In reality, Tongfang SPC is an entity owned and

controlled by Shi. Moreover, Defendants concealed who the real beneficiary of the Tongfang

Transaction was. A day after the transaction was announced, LKM transferred its entire equity

stake in FL Mobile and Showself not to Tongfang SPC but to Shi.

       6.      Accordingly, Shi engineered this self-dealing transaction such that he could

secretly acquire two of the Company’s most valuable assets – and do so without any intention of

ever paying LKM the full sum owed for these assets.

       7.      In February 2018, shortly after the Tongfang Transaction closed, the truth about the

transaction was revealed to investors. As a result, the price of LKM’s ADS plummeted over 40

percent, harming Plaintiff.

       8.      Defendants’ fraud did not stop with the securities fraud arising out of the Tongfang

Transaction, and Shi continued to loot the Company of its valuable assets. In the summer of 2018,

with an internal corporate investigation bearing down on him, Shi orchestrated a stock sale by

which LKM effectively gave away $10 million of its Class B shares to Shi’s associates – an attempt

by Shi to retain control of the Company in the event of his ouster. Then, in the fall of 2018 and

without receiving any consideration for the Company or its shareholders, Shi gave away the

consideration LKM received in connection with the Tongfang Transaction to Zhongzhi. As a

result, Shi was able to fraudulently clear the debt his own entity owed to LKM and avoid the

personal liability he faced as a result of LKM’s corporate debt to Zhongzhi.



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         9.      The revelation of Defendants’ fraud has caused Plaintiff significant economic

harm. Plaintiff therefore brings this action under the federal securities laws and under state law to

recover the losses suffered and for equitable relief, as set forth herein.

   II.         JURISDICTION AND VENUE

         10.     The federal securities claims asserted herein arise under and pursuant to Sections

10(b) and 20(a) of the Securities and Exchange Act of 1934 (15 U.S.C. §§ 78j(b) and 78t(a)) and

Rule 10b-5 promulgated thereunder (17 C.F.R. § 240.10b-5) (“Exchange Act”).

         11.     This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331, and has supplemental jurisdiction

over the state law claims pursuant to 28 U.S.C. § 1367(a).

         12.     This Court also has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332 because the parties are citizens of different states and the amount in controversy

exceeds $75,000.00.

         13.     This Court has jurisdiction over each defendant. At all times during the Relevant

Period, LKM was a corporation that conducted and transacted business in this District, traded on

the New York Stock Exchange (“NYSE”), and otherwise has sufficient minimum contacts with

the U.S. and this District. The Individual Defendants (defined below), through LKM as well as

individually, also have sufficient minimum contacts with this District, so as to render the exercise

of jurisdiction by this Court permissible under traditional notions of fair play and substantial

justice. Furthermore, this Court has jurisdiction over each defendant based on FRCP 4(k)(1) and

CPLR 302, due to the Individual Defendants’ contacts with this District via LKM and individually.

         14.     Venue is proper in this District pursuant to Section 27 of the Exchange Act and 28

U.S.C. § 1391.



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          15.     In connection with the acts alleged herein, Defendants directly or indirectly used

the means and instrumentalities of interstate commerce, including the United States mails,

interstate telecommunications, and the facilities of the NYSE.

   III.         PARTIES

          16.     Plaintiff was a purchaser and owner of LKM securities during the Relevant Period.

During the Relevant Period, Plaintiff, as set forth in the accompanying trading records, acquired

LKM’s ADS at artificially inflated prices and was damaged upon the revelation of the alleged

corrective disclosure.

          17.     LKM, formerly known as NQ Mobile Inc., is incorporated in the Cayman Islands

with its principle executive offices located in Beijing, People’s Republic of China (“PRC”). LKM

is a multinational technology company that develops, licenses, supports and sells mobile software

platforms, including mobile games and social media platforms, as well as services that focus on

the smart car and smart ride business. At all relevant times, LKM securities trade on the NYSE

under the ticker “LKM.” Prior to the Company’s renaming itself in 2018, at all relevant times, the

Company’s securities traded on the NYSE under the ticker “NQ.”

          18.     Defendant Shi is LKM’s co-founder.       Beginning in 2014, he became LKM’s

Chairman of the Board. In connection with the securities fraud and other fraudulent and tortious

conduct alleged herein and pursuant to the authority granted to it by this Court, Robert W. Seiden,

the Court-appointed Receiver, acting in the best interest of LKM, removed Shi in March 2019 and

has sought to cancel his ability to control or maintain any LKM assets.

          19.     Defendant Wu was the Company’s Chief Financial Officer since June 2015. In

connection with the Defendants’ misconduct as alleged herein, Wu resigned from the Company in

September 2018.



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       20.      Defendant Xu was the Company’s Chief Executive Officer since December 2014

and President since December 2010. In connection with the fraud and other tortious conduct

committed by Defendants as alleged herein, Xu resigned from the Company in September 2018.

       21.      Defendants Shi, Wu, and Xu are collectively referred to herein as the “Individual

Defendants.” Defendants LKM, Shi, Wu and Xu are collectively referred to herein as the

“Defendants.”

       22.      Each of the Individual Defendants:

                a. directly participated in the management of the Company;

                b. was directly involved in the day-to-day operations of the Company at
                   the highest levels;

                c. was privy to confidential proprietary information concerning the
                   Company and its business and operations;

                d. was directly or indirectly involved in drafting, producing, reviewing
                   and/or disseminating the false and misleading statements and
                   information alleged herein;

                e. was directly or indirectly involved in the oversight or implementation
                   of the Company’s internal controls

                f. was aware of or recklessly disregarded the fact that the false and
                   misleading statements were being issued concerning the Company;
                   and/or

                g. approved or ratified these statements in violation of the federal
                   securities laws.

       23.      LKM is liable for the acts of the Individual Defendants and its employees under the

doctrine of respondeat superior and common law principles of agency, as all of the wrongful acts

complained of herein were carried out within the scope of their employment.

       24.      The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to LKM under respondeat superior and agency principles.



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   IV.         DEFENDANTS’ SECURITIES FRAUD

         A. Background To The Fraud

         25.     Prior to the misconduct giving rise to this action, LKM, founded by Defendant Shi

and Henry Lin (“Lin”), was a successful China-based provider of mobile internet services with a

portfolio of offerings, including platforms for mobile game publishing, mobile advertising, mobile

entertainment, and mobile security and productivity applications.

         26.     LKM had a significant balance sheet of valuable assets and, prior to the misconduct

alleged herein, was generating hundreds of millions of dollars per year in revenue; the Company

generated $196.7 million in 2013, $332.3 million in 2014, $406.7 million in 2015, and $343.1

million in 2016. For the bulk of the Relevant Period, prior to the uncovering of Defendants’

securities fraud and Defendants’ additional tortious and fraudulent conduct, as alleged herein,

LKM’s ADS hovered around or over $4.00 per share. On the final day LKM’s ADS was available

to be traded on the NYSE, the stock was valued at $0.15, a staggering decline caused by

Defendants’ ongoing fraud that wiped out billions in shareholder value.

         27.     Prior to and during the Relevant Period, two of LKM’s most valuable assets were

FL Mobile and Showself. FL Mobile was a developer, publisher, and operator of games for mobile

phones, valued in 2017 at approximately RMB 4 billion (approximately $621 million using then-

current currency conversion rates). Showself was a live mobile social media video platform,

valued at RMB 1.23 billion in 2017 (approximately $191 million).

         28.     FL Mobile and Showself were critical assets to LKM’s revenue stream. In 2016

alone, FL Mobile and Showself generated $175.5 million and $110.7 million respectively for

LKM. In other words, revenues from FL Mobile and Showself accounted for 83 percent of the

Company’s total 2016 revenue. In the Company’s 2016 annual report, the Company stated that



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FL Mobile and Showself “both represent a significant portion of our operations” and that, in the

event that the Company divested itself of FL Mobile and Showself, “our revenues and operating

results might be greatly reduced.”

       29.     Prior to March 2017, Shi was a significant shareholder of FL Mobile, having 22

percent equity interest in the LKM asset, which LKM had disclosed to shareholders.

       30.     These assets held particular value to the Company as divestment opportunities and

mechanisms to unlock shareholder value. As such, between 2015 and 2017, the Company had

tried no less than three times to sell FL Mobile on both the Hong Kong and mainland China

exchanges.   However, these deals failed to come to fruition as a result of expensive and

unnecessary administrative delays caused by listing a China-based company on the Hong Kong

exchange and significant financial turbulence in the Chinese capital markets in 2016.

       31.     Nonetheless, political issues in China and intra-company fighting between LKM’s

co-founders, Shi and Lin, triggered a series of events that led to Defendants’ engaging in the fraud

alleged herein. Specifically, led by Xi Jinping, the PRC’s then and current President, China began

a purported “anti-corruption” campaign directed at powerful individuals, including business and

media leaders, in an attempt by the Communist Party to consolidate power and squash dissent.

       32.     Lin got swept up into this campaign. In late 2014, Lin was disappeared by the

Chinese government. He went missing for months and was uncontactable by his friends, family

and associates, including Shi.

       33.     Shi saw Lin’s disappearance as an opportunity. In December 2014, Shi, seeking to

seize control of the Company and insulate it from any further governmental scrutiny it could garner

through its association with Lin, engineered Lin’s formal resignation as LKM’s CEO, with the




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Company releasing a press release that Lin resigned due to “personal reasons unrelated to the

company.”

       34.     Upon Lin’s purported resignation, Shi became the Company’s Chairman of the

Board. As the Chairman of the Board, Shi exercised total control of the Company, and no material

corporate decision could be taken unless and until he approved them.

       35.     A few months later, however, in early 2015, Lin reappeared. Nonetheless, upon his

reappearance, Lin maintained his distance from the Company and remained uninvolved with

LKM’s management and operations. During Lin’s absence, Shi took further action against him.

In 2016, Shi forged or forced the forgery of Lin’s signature on a letter purportedly by Lin

announcing his resignation from RPL Holdings Ltd. (“RPL”), one of LKM’s larger shareholders.

       36.     In response to his removal from RPL, Lin took action. Specifically, Lin raised

claims of his improper removal by Shi to the Company’s Board of Directors, initiating internal

inquiries that escalated into a full-blown internal investigation conducted by LKM’s

Independent Special Committee of its Board of Directors and carried out by the Company’s

independent counsel, Loeb & Loeb LLP (“Loeb & Loeb”) (and as to the investigation, the “Internal

Investigation”).

       37.         While this investigation was concealed from shareholders at the time, Shi, as

LKM’s Chairman knew about it. And with the investigation looming over him, Shi knew it was

just a matter of time before, as an inevitable result of his actions against Lin, he could possibly be

removed from the Company.

       38.     Meanwhile, Shi personally found himself under significant financial pressure. In

September 2016, Zhongzhi and LKM entered into a Note Purchase Agreement (“Purchase

Agreement”), pursuant to which Zhongzhi agreed to purchase a $220 million convertible note



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(“Convertible Note”) from LKM. Also in September 2016, concurrently with the execution of the

Purchase Agreement, Zhongzhi, RPL, and Shi entered into a cooperation agreement, by which Shi

personally guaranteed to pay to Zhongzhi interest at 10% per annum on the principal balance of

Convertible Note prior to its maturity date, plus an additional 2.5% of the balance after the maturity

date. In other words, Shi was personally on the hook for millions of dollars.

       39.     Towards the end of 2016, Shi found himself in a precarious position. He was

running out of time before the Internal Investigation caught up to him, and he needed money to

pay the Convertible note to Zhongzhi. Notably, both Shi and Zhongzhi have a financial interest

in an entity known as Tongfang Investment Fund Series SPC (“Tongfang SPC”). To generate the

cash to pay off the Convertible Note, Shi used Tongfang SPC and turned his attention to LKM’s

most valuable assets, FL Mobile and Showself, engineering their sale in a secretly self-dealing

transaction which, when the truth about the deal was revealed and in the words of a financial

analyst, “reeked” of fraud.

       B. The Tongfang Transaction

       40.     On March 30, 2017, LKM announced that it had entered into a definitive agreement

with Tongfang SPC to acquire 63 percent of LKM’s equity interest in FL Mobile for RMB 2.52

billion and 65 percent of LKM’s equity interest in Showself for RMB 800 million, for a total

consideration of RMB 3.32 – approximately $516 million at the time (as to the transaction, the

“Tongfang Transaction”). The agreement between LKM and Tongfang SPC called for a nominal

upfront payment of RMB 150 million (approximately $23 million), after which LKM would

immediately transfer FL Mobile and Showself to Tongfang SPC, with Tongfang SPC required to

pay the remaining balance of RMB 3.17 billion by May 31, 2017. The agreement called for FL




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Mobile and Showself to be transferred back to LKM if Tongfang SPC failed to pay the remaining

balance by May 31, 2017.

        41.     The Tongfang Transaction was a fraud perpetrated by Shi to loot the Company of

its most valuable assets, effectively handing them over to Shi without fair consideration to

shareholders. To perpetrate the fraud, Defendants made at least three types of materially false and

misleading statements, described in further detail below, for the purpose of masquerading the

transaction as a legitimate business deal that was free of significant conflicts of interest and

fraudulent self-dealing, while omitting critical information concerning the real identity of the buyer

and Shi’s actual interest in the deal.

        42.     First, Defendants falsely and repeatedly represented that the buyer in the Tongfang

Transaction, Tongfang SPC, was a corporate affiliate of Tsinghua Tongfang, a bona fide Chinese

state-owned computer manufacturing giant based in Beijing with billions of dollars in annual

revenue, tens of thousands of employees, and scores of legitimate corporate subsidiaries under its

management. Such an illusion gave the Tongfang Transaction an imprimatur of legitimacy,

representing to investors that the transaction was a fair, arms-length negotiation between two

aboveboard entities conducted for a legitimate business purpose. As alleged in further detail

below, none of this was true.

        43.     From the announcement of the Tongfang Transaction in March 2017 up until its

closing in December 2017, Defendants falsely and misleadingly represented that Tongfang SPC

was a corporate affiliate of Tsinghua Tongfang. For example, in a press release dated March 30,

2017 that was attached to a Form 6-K and was signed by Defendant Shi (“March 2017 Press

Release”), LKM stated that it “had entered into definitive agreements (the ‘Agreements’) with

Tongfang Investment Fund Series SPC (the ‘Investor’), an affiliate of Tsinghua Tongfang.”



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       44.     Defendants changed tack on their description of how Tongfang SPC was related to

Tsinghua Tongfang. For example, on April 26, 2017, in the Company’s 2016 annual report on a

Form 20-F that was dated April 25, 2017 and was signed by Defendant Shi (with signed

certifications pursuant to the Sarbanes-Oxley Act of 2002 by Defendants Wu and Xu) (“2016

Annual Report”), the Company stated that “In March 2017, the Group entered into definitive

agreements (the ‘Agreements’) with Tongfang Investment Fund Series SPC (the “Investor”), an

affiliate private equity investment fund of Tsinghua Tongfang.”

       45.     Curiously, Defendants changed their description yet again in subsequent press

releases. For example in a November 20, 2017 press release attached to a Form 6-K dated

November 21, 2017 and signed by Shi, the Company stated that Tongfang Investment Fund Series

SPC was “an affiliate of Tongfang Securities Limited, a part of Tsinghua Tongfang,”

       46.     These statements were materially false and misleading because, inter alia,

Tongfang SPC was not an affiliate of Tsinghua Tongfang. Rather, Tongfang SPC was an

investment vehicle of Shi’s; Shi exploited the “Tongfang” brand name to convince investors that

the valuable Company assets sold to Tongfang SPC were part of a legitimate, arms-length

transaction, when in reality they were sold to an entity owned and controlled by Shi himself in a

manner that allowed him to get away with acquiring these assets without paying their full price.

       47.     Second and related to the above, Defendants made materially false and misleading

statements and omissions concerning Shi’s actual interest in the Tongfang Transaction, failing to

disclose Shi’s significant ownership interest in Tongfang SPC and that he would receive an equity

interest in both FL Mobile and Showself as a result of the Tongfang Transaction. Indeed, while

previously referencing Shi’s existing equity interest in FL Mobile, this was not the complete truth




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of the matter, as Defendants failed to disclose his true and complete interest in FL Mobile,

Showself, and Tongfang SPC.

       48.     For example, in the March 30, 2017 Press Release, LKM stated that Shi “has equity

interest in FL Mobile and will continue to participate with the Investor in the future.” Likewise,

in the Company’s 2016 Annual Report, LKM stated that Shi entered into a “share purchase

agreement with FL Mobile and Xinjiang NQ, pursuant to which, Dr. Shi acquired 22% equity

interest in FL Mobile by terminating the relevant contractual arrangements and paying

Xinjiang NQ a total consideration of RMB880 million.”

       49.     These statements, and the others like them during the Relevant Period, were

materially false and misleading because, inter alia, Defendants chose to discuss Shi’s ownership

interest in the Tongfang Transaction without fully and truthfully disclosing that Shi would acquire

a significant equity interest in FL Mobile and Showself and that Tongfang SPC was a sham entity

owned and controlled by Shi and that was used by Shi to effectuate the transfer of LKM’s equity

interest in FL Mobile and Showself to himself.

       50.     Given the one-sided and fraudulent nature of the Tongfang Transaction, the terms

of the transaction were merely pretextual; the “parties” had no plans to execute the agreement

under the terms represented to investors. One day after the Tongfang Transaction was announced,

on March 31, 2017 – and eight months before the deal closed and any substantial amount of money

was ever paid to LKM – LKM transferred its equity interest in FL Mobile and Showself not to

Tongfang SPC but to Shi, as records from the Beijing Enterprise Credit Information Network

(“BECIN”) demonstrate. Indeed, after the closing of the transaction, Shi’s stake in FL Mobile

unexpectedly skyrocketed, shocking investors and financial analysts. Specifically, one day after




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the deal was announced and the purported buyer made an initial down payment pursuant to the

terms of the Tongfang Transaction, Shi’s stake in FL Mobile jumped from 22 percent to 79 percent.

       51.     In connection with the Tongfang Transaction, Defendants failed to disclose that Shi

would become an equity owner in Showself or that he would be the recipient of LKM’s entire

equity interest. In fact, the purchase agreement states a portion of the interest to be transferred to

Tongfang SPC was to come from Shi’s share.

       52.     Moreover, Tongfang SPC never provided the agreed upon RMB 3.32 billion for the

assets. By May 31, 2017, the agreed-upon payment deadline, Tongfang SPC had paid only the

nominal sum of RMB 150 million, with the hulking amount of RMB 3.17 billion (approximately

$492 million) remaining as a balance. Moreover, Tongfang SPC delayed payment multiple times

– in May and November 2017.

       53.     To assure investors that they had no reason for concern, between the spring of 2017

and December 2017, Defendants made the above-referenced third type of false and misleading

statement: statements and omissions representing that Tongfang SPC would pay the remaining

balance. For example, in a press release dated May 31, 2017 and filed on a Form 6-K dated June

2, 2017 and signed by Shi (“May 31 Press Release”), the Company stated that “The Company was

notified by Tongfang Investment Fund Series SPC … that additional time is needed for making

the payment of the remaining purchase price for the sale of FL Mobile Jiutian Technology Co.,

Ltd. and Beijing Showself Technology Co., Ltd…. The Purchaser has further communicated its

confidence to the Company and is making final preparations for completing the Transactions.

The Company will continue to work with the Purchaser to close the Transactions as soon as

possible.”




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       54.     Likewise, on August 31, 2017, the Company provided an update on the Tongfang

Transaction on its website stating that; “we have received some queries from our investors about

the status of the Transaction. We are working closely with the Purchaser, and doing our best to

move the Transaction forward. Currently, the Purchaser still needs additional time to complete

the Transaction. However, both the Purchaser and us are confident that this Transaction will

be completed soon.”

       55.     Then, on November 9 and 20, 2017, the Company announced that it had received

payments of RMB 800 million and RMB 400 million, respectively – still a far cry from paying the

full balance on the RMB 3.32 billion purchase price. Accordingly, seven months after the payment

deadline, Tongfang SPC had paid only a fraction of the purchase price; approximately RMB 1.97

billion remained outstanding – approximately $306 million of $516 million.

       56.     Finally, in a press release dated December 14, 2017 that was attached to a Form 6-

K dated December 2015, 2017 and was signed by Shi (“December 14, 2017 Press Release), LKM

announced the completion of the deal, with Tongfang SPC having purportedly paid in full.

Specifically, LKM announced that Tongfang SPC had provided LKM with a nominal payment of

RMB 200 million and RMB1.77 billion in the form of a senior note (“Senior Note”). In other

words, Tongfang SPC got away with paying less than half of the agreed-upon purchase price in

cash: in total it paid only RMB 1.55 billion in cash on a RMB 3.32 billion deal. When Defendants’

fraud unraveled in February 2018, as described below, financial analysts were shocked by the size

and terms of the Senior Note, stating it was the “tip of the iceberg” of Defendants’ fraud.

       C. The Truth Emerges

       57.     Shortly after the completion of the transaction, in February 2018, Defendants’

securities fraud was revealed. Specifically, on February 6, 2018, a report entitled “NQ Mobile:



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Undisclosed Transfer Of Subsidiaries To Chairman Introduces Significant Risks - Price Target

$0” (the “February 2018 Report”) was published on SeekingAlpha.com that revealed the fraudulent

related party transaction concerning Shi’s self-dealing role in the deal. As a result of the findings

of the February 2018 Report, financial analysts “doubt[ed] every aspect of the transaction.”

        58.     First, contrary to Defendants’ representations, the February 2018 Report revealed

that Shi was fraudulently on both sides of the Tongfang Transaction. Citing financial records from

BECIN dated March 31, 2017 – one day after the announcement of the Tongfang Transaction –

the February 2018 Report revealed that the Company transferred all of its equity interests in FL

Mobile and Showself not to Tongfang SPC but to Shi himself. The February 2018 Report also

noted that nowhere in the Company’s disclosures about the Tongfang Transaction did the

Company ever represent that Shi would ever own any equity interest in Showself or receive LKM’s

entire equity interest in these assets.

        59.     Second, the February 2018 Report revealed the falsity of Defendants’

representations concerning the purported affiliation between Tongfang SPC and Tsinghua

Tongfang. Indeed, the February 2018 Report stated that, while according to the Company’s prior

press releases, Tongfang SPC was an affiliate of Tsinghua Tongfang, Shi fraudulently exploited

the use of the “Tongfang” name to give the deal the appearance of an arm’s length transaction with

a well-funded, established, and legitimate third party.

        60.     For example, the February 2018 Report demonstrated that, at the time of the

Tongfang Transaction, LKM and Tongfang SPC had the exact same corporate address in the

Cayman Islands. Moreover, the February 2018 Report stated that Tongfang SPC unexpectedly

dissolved itself in July 2017 and reincorporated itself with a new address in August 2017, just one

day before it delayed its payments to LKM.



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       61.     Additionally, the February 2018 Report highlighted Defendants’ changed verbiage

during the Relevant Period for the purported affiliation between Tongfang SPC and Tsinghua

Tongfang, providing further evidence that this supposed “affiliation” was a fiction. Specifically,

Defendants stated that Tongfang SPC was an affiliate of Tsinghua Tongfang, while later press

releases claimed that Tongfang SPC was an affiliate of Tongfang Securities Limited, a part of

Tsinghua Tongfang.

       62.     The February 2018 Report demonstrated that these representations were false and

misleading. At the time of the February 2018 Report, Tongfang Securities was wholly owned by

Neo-Neon, a publicly traded company in Hong Kong, which in turn was 64 percent owned by

Tsinghua Tongfang. However, neither Neo-Neon’s nor Tsingua Tongfang’s publicly-available

financial records report any interest in or relationship to Tongfang SPC. And relatedly, with Neo-

Neon reporting a book value of only $230 million, it would be implausible that if Tongfang SPC,

a purported wholly-owned subsidiary of Neo-Neon, entered into an agreement worth over $500

million, Neo-Neon would not report it. And furthermore, as a bottom-line issue, neither Neo-Neon

nor Tongfang Securities had the financial capability to support the Tongfang Transaction, with the

former having only $87 million in cash in June 2017.

       63.     Additionally, the February 2018 Report demonstrated the sham affiliation between

Tongfang SPC and Tsinghua Tongfang because, even after the transfer of assets, Shi remained the

legal representative of FL Mobile. As a general rule, every business in China is required to have

a legal representative who is the principal of the company and is the employee with the legal power

to represent and enter into binding obligations on behalf of the company. If Tongfang SPC were

an independent party – or affiliated with Tsinghua Tongfang – Tongfang SPC would have installed




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a new legal representative for FL Mobile; the Chairman of the seller would not remain the legal

representative for an asset owned by the new buyer.

       64.    Furthermore, the amount and terms of the Senior Note, described above, suggest

both that there was no affiliation between Tongfang SPC and Tsinghua Tongfang and that Shi

controlled Tongfang SPC. Indeed, LKM never received payment from Tongfang under the Senior

Note. Accordingly, Shi was able to secure these assets for himself without paying the balance of

RMB 1.77 billion – approximately $275 million.

       65.    Plaintiff’s Counsel’s investigation into this matter has corroborated the fact that

Tongfang SPC is an entity owned and controlled by Shi. Indeed, at the time of the Tongfang

Transaction, Shi was Tongfang SPC’s majority stakeholder and had final decision-making

authority over the operations and management Tongfang SPC.

       66.    Moreover, upon information and belief, the payments made by Tongfang SPC to

LKM in connection with the Tongfang Transaction were a sham, meant to convince investors that

the transaction was legitimate and to conceal Shi’s self-dealing. By the closing of the Tongfang

Transaction, LKM had paid Zhongzhi approximately $88 million under the Convertible Note.

Upon information and belief, Zhongzhi transferred that money to Tongfang SPC, and Tongfang

SPC then transferred that money back to LKM. This circuitous payment trail made it appear that

Tongfang SPC was paying LKM for FL Mobile and Showself. Instead, these payments amounted

to a round-trip deal; Shi used LKM’s funds to acquire LKM’s assets.

       D. Post-Transaction Allegations

       67.    The fallout of the fraud was severe, and, between February 2018 and January 2019,

LKM experienced a series of setbacks leading ultimately to the Company’s being delisted from

the NYSE.



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       68.     In response to the February 2018 Report, Shi quickly went on the defensive, issuing

a press release that falsely and misleadingly attempted to explain the self-dealing transaction.

Specifically, Shi maintained that “all material aspects of the FL Mobile divestment and the sale of

Beijing Showself’s live social video businesses were publicly disclosed, including my

participation and role in the purchasing group.” Shi also denied his connection to Tongfang SPC,

maintaining that it was an “independent third party.” And as to why LKM’s assets were transferred

to him, Shi’s answer was not true: “the purchasing group requested that the shares should be

registered under a new individual shareholder to satisfy structural arrangements related to future

capital market requirements of the divested assets. The arrangements are made to ensure the

successful completion of the transaction.” Shi acquired FL Mobile and Showself not so he could

“satisfy structural arrangements” but rather because his goal was to personally acquire them.

       69.     Then on May 1, 2018, LKM filed with the SEC a notification of its inability to

timely file its Form 20-F for 2017. On May 15, 2018, LKM explained that delay was a result of

improper financial reporting, such that the Company’s financial statements from the second quarter

of 2016 through the fourth quarter of 2017 could no longer be relied upon and were inaccurate.

The Company admitted significant failures to disclose transactions, including Shi’s payment for

his pre-Tongfang Transaction equity interest in FL Mobile.

       70.     Things got worse for the Company, as LKM’s former Chairman, Lin, during the

first half of 2018 raised a host of new allegations against Shi in connection with Shi’s forcing his

resignation. In response, in May 2018, the Company publicized that it was conducting the Internal

Investigation and that the Board of Directors had brought in Loeb & Loeb to lead the investigation.

       71.     A few months later, in September 2019, LKM made public Loeb & Loeb’s searing

findings. Loeb & Loeb’s investigation found that Shi had fraudulently induced Lin’s resignation



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from LKM’s subsidiary RPL by forging or causing the forgery of Lin’s signature. Moreover, Loeb

& Loeb also found that the Company’s justification for Lin’s resignation from the Company in

2014 was false and misleading; he did not resign for “personal reasons” but as a result of the

“Chinese government investigation involving matters unrelated to the Company” – the purported

anti-corruption campaign into which Lin got swept up. And additionally, Loeb & Loeb also

determined that the Company’s internal controls were ineffective and required remediation, stating

that “the Company’s internal procedures and processes with respect to its decision making and

operations should be made more effective and transparent in order to avoid events in the future

that could lead to allegations similar to those that have been investigated by the Special

Committee.”

       72.     Then, on September 24, 2018, the Company announced that, pursuant to NYSE

rules, the Company was no longer in compliance with NYSE listing standards, as the standard

required a 30-day average closing share price to remain at or above $1.00 – which LKM’s ADS

was not.

       73.     It never would again. On December 24, 2018, LKM announced that NYSE had

determined that the Company was no longer suitable for listing because of “abnormally low” price

levels and that NYSE would apply to the SEC to delist the Company’s ADS from its exchange.

Shortly thereafter, the SEC delisted LKM.

       74.     Key resignations quickly followed suit. On December 19, 2018, the Company

announced that Larry Chi, LKM’s then Co-Chairman, had resigned from the Company’s board of

directors due to “personal reasons.” Then, on January 11, 2019, the Company announced that its

independent registered public accounting firm, Marcum Bernstein & Pinchuk LLP (“MBP”) had

resigned. In its resignation letter, MBP cited as reasons for its resignation the significant



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misrepresentations and omissions of financial reporting in the Company’s financial statements for

2016 and 2017 and the allegations against Shi raised by Lin that were the subject of the Internal

Investigation, demonstrating troubling corporate governance issues within the Company –

suggesting that MBP could no longer “rely on the representations of management.”

       75.     A few months later, Shi was out. On February 1, 2019, the Court appointed the

Receiver to, among other things, manage the Company’s operations and protect its assets from

further waste and theft. On March 14, 2019, the Receiver, pursuant to the authority granted to him

by this Court and acting in the best interest of the Company, removed Shi as Chairman and Chief

Executive Officer.

       E. False And Misleading Statements And Omissions

       76.     During the Relevant Period, Defendants made materially false and misleading

statements and omissions concerning the Tongfang Transaction.            Defendants’ actionable

misstatements can be classified into four categories: (i) statements and omissions concerning the

purported affiliation between Tongfang SPC and Tsingua Tongfang; (ii) statements and omissions

concealing Shi’s financial interest in the Tongfang Transaction; (iii) statements and omissions

meant to assure investors that Tongfang SPC would pay in full for FL Mobile and Showself; and

(iv) statements and omissions concerning the efficacy of the Company’s internal controls. These

misstatements and omissions are alleged in detail below.

       1) Statements And Omissions Concerning The Affiliation Between Tongfang SPC
          And Tsinghua Tongfang

       77.     In order for Shi to ensure that the Tongfang Transaction would close and that he

would fraudulently be able to get away with selling to himself two of the Company’s most valuable

assets, Defendants needed to masquerade the Tongfang Transaction as a bona fide, arms-length

deal with a well-funded and legitimate counterparty. Accordingly, Defendants capitalized on the

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“Tongfang” name and represented to investors that the buyer was an affiliate of the PRC-based

computer giant Tsinghua Tongfang.

       78.    In a press release dated March 30, 2017 and attached to a Form 6-K signed by

Defendant Shi and dated March 31, 2017 (“March 30, 2017 Press Release”), LKM stated that it

“had entered into definitive agreements (the ‘Agreements’) with Tongfang Investment Fund

Series SPC (the ‘Investor’), an affiliate of Tsinghua Tongfang.”

       79.    The Company made a substantively identical misstatement in a press release dated

April 6, 2017 that was attached to a Form 6-K dated April 7, 2017 and was signed by Defendant

Shi.

       80.    Defendants made similar misstatements later in the Relevant Period. For example,

in the Company’s 2016 Annual Report attached to a Form 20-F that was dated April 25, 2017 and

signed by Shi (“2016 Annual Report”), the Company stated that it had sold its “remaining 63%

equity interests in FL Mobile to an affiliate private equity investment fund of Tsinghua Tongfang

in March 2017.”

       81.    In a press release dated November 9, 2017 and attached to a Form 6-K dated

November 13, 2017 and signed by Defendant Shi (“November 9, 2017 Press Release”), LKM

stated that Tongfang SPC was “an affiliate of Tongfang Securities Limited, a part of Tsinghua

Tongfang.”

       82.    Defendants made substantively identical misstatements in a press release that was

dated November 20, 2017 and attached to a Form 6-K dated November 21, 2017 and signed by

Defendant Shi, as well as in a press release dated December 14, 2017 that was attached to a Form

6-K dated December 15, 2017 and signed by Defendant Shi.




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       83.     These statements and omissions were materially false and misleading. Tongfang

SPC was not “an affiliate of Tsinghua Tongfang,” an “affiliate private equity investment of

Tsinghua Tongfang,” or and “affiliate of Tongfang Securities Limited” – which itself was not a

“part of Tsinghua Tongfang.” To the contrary, Tongfang SPC had no formal or informal affiliation

with any of these entities but rather was an entity that was owned and controlled by Shi and which

fraudulently exploited the “Tongfang” name to give the deal the appearance of an arm’s length

transaction with a well-funded third party, as demonstrated by the fact that: (i) at the time of the

Tongfang Transaction, LKM and Tongfang SPC had the exact same corporate address in the

Cayman Islands; (ii) in July 2017, Tongfang SPC unexpectedly dissolved itself and reincorporated

with a new address in August 2017, just one day before it delayed its payments to LKM for a

second time; (iii) both Neo-Neon and Tsinghua Tongfang, Tongfang Securities’ parent entities,

report no financial interest in or relationship to Tongfang SPC or even mention Tongfang SPC;

(iv) neither Neo-Neon nor Tongfang Securities had the financial capability to take part in the

Tongfang Transaction, with both entities having nowhere near the cash to pay for FL Mobile and

Showself; (v) Shi remained the legal representative of FL Mobile after the close of the transaction,

contrary to what would have ensued if Tsinghua Tongfang or an independent Tongfang SPC

purchased FL Mobile; and (vi) the terms of the Senior Note were so one-sided and beneficial to

Tongfang SPC that LKM never would have accepted the Senior Note as consideration had Shi not

been on both sides of the deal.

       2) Statements And Omissions Concealing Shi’s Financial Interest In The Tongfang
          Transaction

       84.     Throughout the Relevant Period, Defendants also made materially false and

misleading statements and omissions concerning Shi’s financial interest in the Tongfang




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Transaction, concealing the material fact that LKM’s equity interest in FL Mobile and Showself

would go to Shi and not Tongfang SPC.

       85.     In the March 30, 2017 Press Release, the Company stated that Shi “has equity

interest in FL Mobile and will continue to participate with [Tongfang SPC] in the future.”

       86.     In the Company’s 2016 Annual Report, LKM stated that Shi entered into a “share

purchase agreement with FL Mobile and Xinjiang NQ, pursuant to which, Dr. Shi acquired

22% equity interest in FL Mobile by terminating the relevant contractual arrangements and paying

Xinjiang NQ a total consideration of RMB880 million.”

       87.     And in the Company’s 2016 Annual Report, concerning the divestiture of FL

Mobile and Showself, the Company stated, “We have transferred our equity interests in FL

Mobile and Showself (Beijing) to [Tongfang SPC] … and are in the process to collect remaining

purchase price and close the whole FL Mobile and Showself (Beijing) Divestment.”

       88.     These statements and omissions were false and misleading because in the context

of the Tongfang Transaction, by discussing Shi’s financial interest in FL Mobile and to what entity

FL Mobile and Showself would be transferred, Defendants had a duty to disclose the full truth

about Shi’s actual and material financial interest in FL Mobile, Showself, and the Tongfang

Transaction. Indeed, these statements and omissions conceal the fact that LKM transferred FL

Mobile and Showself not to Tongfang SPC but to Shi. Moreover, in discussing Shi’s ownership

of FL Mobile, Defendants had a duty to disclose but concealed the fact that Shi would become an

equity owner of Showself. And furthermore, these statements and omissions gave the impression

to investors that, in connection with the Tongfang Transaction, Shi would not acquire additional

equity in FL Mobile, equity in Showself, or that he was on both sides of the transaction.




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       3) Statements And Omissions Falsely Assuring Investors That Tongfang SPC Would
          Pay In Full For FL Mobile And Showself

       89.     After Tongfang failed to make the full RMB 3.32 billion payment by May 31, 2017

under the terms of the Tongfang Transaction, Defendants made materially false and misleading

statements and omissions meant to assure investors that LKM would receive full payment for its

divestment of FL Mobile and Showself.

       90.     In a press release dated May 31, 2017 and filed on a Form 6-K dated June 2, 2017

and signed by Shi (“May 31 Press Release”), the Company stated that it “was notified by Tongfang

Investment Fund Series SPC … that additional time is needed for making the payment of the

remaining purchase price for the sale of FL Mobile Jiutian Technology Co., Ltd. and Beijing

Showself Technology Co., Ltd…. The Purchaser has further communicated its confidence to

the Company and is making final preparations for completing the Transactions. The Company

will continue to work with the Purchaser to close the Transactions as soon as possible.”

       91.     On August 31, 2017, the Company provided an update on the Tongfang Transaction

on its website stating that “we have received some queries from our investors about the status of

the Transaction. We are working closely with the Purchaser, and doing our best to move the

Transaction forward. Currently, the Purchaser still needs additional time to complete the

Transaction. However, both the Purchaser and us are confident that this Transaction will be

completed soon.”

       92.     In a press release dated November 9 and attached to a Form 6-K dated November

13, 2017 and signed by Shi, the Company stated that Tongfang SPC “remains committed to

completing the entire divestments … being all of the equity interests beneficially owned by the

Company … [in FL Mobile and Showself].”




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       93.      In a press release dated December 14, 2017 and attached to a Form 6-K dated

December 15, 2017 and signed by Shi, the Company, having purportedly completed the Tongfang

Transaction by receiving the Senior Note from Tongfang SPC stated that “it has completed the

FL Mobile Divestment and the Sale of Showself’s Live Social Video Business” because LKM

had received the “RMB1,770 million in a senior note from [Tongfang SPC]. This brings the total

consideration received to approximately RMB3.32 billion, or 100% of the agreed upon price

pursuant to the definitive agreements between the Company and the Investor in March 2017. As

compensation to the Company, the senior note issued to the Company bears an interest of 8%

per annum. This one-year senior note may be extended by another 12 months at the Company’s

option, and can be redeemed early by [LKM] for principle plus accrued interest to the Company

at any time.”

       94.      These statements and omissions were materially false and misleading. LKM, as

controlled by Shi, knew that Tongfang SPC, also controlled by Shi, had no intent on paying for

FL Mobile and Showself in full; Tongfang SPC was certainly not committed to completing the

transaction under the agreed-upon terms. Moreover, with Shi effectively lending himself money

in the form of the Senior Note, he had no interest in redeeming that debt on behalf of LKM.

       4) Statements And Omissions Concealing The Efficacy Of LKM’S Internal Controls

       95.      Throughout the Relevant Period, Defendants also made materially false and

misleading statements and omissions concerning the Company’s internal controls. Specifically,

in the Company’s 2016 Annual Report, Defendants Xu and Wu, signed certifications pursuant to

Section 302 of the Sarbanes-Oxley Act of 2002 (“SOX”) attesting to the accuracy of the

Company’s financial statements and the efficacy of its internal controls.




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       96.       In their respective Section 302 SOX certifications, Defendants Xu and Wu stated

the following:

                 Based on my knowledge, this report does not contain any untrue statement
                 of a material fact or omit to state a material fact necessary to make the
                 statements made, in light of the circumstances under which such statements
                 were made, not misleading with respect to the period covered by this report;

And that:

                 Based on my knowledge, the financial statements, and other financial
                 information included in this report, fairly present in all material respects the
                 financial condition, results of operations and cash flows of the Company as
                 of, and for, the periods presented in this report;

And specifically as to the Company’s internal controls, Defendants Xu and Wu certified that they:

                         (a)     Designed such disclosure controls and procedures, or
                                 caused such disclosure controls and procedures to be
                                 designed under our supervision, to ensure that material
                                 information relating to the Company, including its
                                 consolidated subsidiaries, is made known to us by others
                                 within those entities, particularly during the period in
                                 which this report is being prepared;

                         (b)     Designed such internal control over financial reporting, or
                                 caused such internal control over financial reporting to be
                                 designed under our supervision, to provide reasonable
                                 assurance regarding the reliability of financial reporting
                                 and the preparation of financial statements for external
                                 purposes in accordance with generally accepted
                                 accounting principles;

                         (c)     Evaluated the effectiveness of the Company’s disclosure
                                 controls and procedures and presented in this report our
                                 conclusions about the effectiveness of the disclosure
                                 controls and procedures, as of the end of the period covered
                                 by this report based on such evaluation; and

                         (d)     Disclosed in this report any change in the Company’s
                                 internal control over financial reporting that occurred
                                 during the period covered by this annual report that has
                                 materially affected, or is reasonably likely to materially
                                 affect, the Company’s internal control over financial
                                 reporting;

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        97.     In the Section 302 Certifications, Defendants Xu and Wu further certified that:

                The Company’s other certifying officer(s) and I have disclosed, based on
                our most recent evaluation of internal control over financial reporting, to
                the Company’s auditors and the audit committee of the Company’s board
                of directors (or persons performing the equivalent function):

                        (a)     All significant deficiencies and material weaknesses in the
                                design or operation of internal control over financial
                                reporting which are reasonably likely to adversely affect
                                the Company’s ability to record, process, summarize and
                                report financial information; and

                        (b)     Any fraud, whether or not material, that involves
                                management or other employees who have a significant
                                role in the Company’s internal control over financial
                                reporting.

        98.     Likewise, in the Company’s 2016 Annual Report, Defendants Xu and Wu, pursuant

to their Section 906 Certifications of SOX stated that:

                (1)     The Report fully complies with the requirements of Section 13(a) or
                        15(d) of the Securities Exchange Act of 1934; and

                (2)     The information contained in the Report fairly presents, in all
                        material respects, the financial condition and results of operations of
                        the Company.

        99.     These statements made in the SOX 302 and 906 Certifications were materially false

and misleading. LKM’s internal controls were riddled with material weaknesses and were

woefully ineffective because: (i) the Company permitted, assisted, furthered and aided the self-

dealing and fraudulent Tongfang Transaction to go forward and close; (ii) failed to report the

transaction as a self-dealing and fraudulent related party transaction, as it was required to do under

the federal securities laws; and (iii) failed to remediate its internal controls or correct the financial

statements that reported the Tongfang Transaction to state that Shi received the Company’s equity

interest in FL Mobile and Showself and/or that Shi was an owner of Tongfang SPC.



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       100.    Indeed, based in part on the findings of the Internal Investigation, the Company

admitted that, at the time of the Tongfang Transaction, “the Company’s internal procedures and

processes with respect to its decision making and operations should be made more effective and

transparent in order to avoid events in the future that could lead to allegations similar to those that

have been investigated by the Special Committee.” Moreover, in connection with the Company’s

notification of its delayed filing of its 2017 20-F, the Company admitted that its financial

statements from the second of 2016 through the fourth quarter of 2016 – and all of 2017 – were

inaccurate and could not be relied upon.

       F. Additional Allegations Of Scienter

       101.    Together with the above-alleged facts, each of the Defendants acted with scienter

in that each knew or recklessly disregarded the true facts in making the materially false and

misleading statements and omissions identified herein.

               1) Conscious Misbehavior Or Recklessness

       102.    Given that LKM and Shi engineered the Tongfang Transaction to intentionally and

secretly transfer FL Mobile and Showself directly to Shi, it is implausible to conclude that LKM

and Shi did not know, or at minimum were reckless in not knowing, that the alleged misstatements

were false or misleading when made. Indeed, the very self-dealing nature of the Tongfang

Transaction underscores their scienter. Shi, the Chairman and COO of LKM, an entity he

controlled, intentionally orchestrated a sham transaction to Tongfang SPC, an entity he owned and

controlled, for his own benefit – and LKM, on the very day after the deal was announced,

transferred FL Mobile and Showself to Shi, as opposed to Tongfang SPC.

       103.    Defendants’ scienter is also demonstrated by the fact that, during the Relevant

Period, FL Mobile and Showself were critical assets to the Company which generated the bulk of



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the Company’s annual revenues. In 2016, FL Mobile and Showself collectively generated $286.2

million for LKM – 83 percent of the Company’s total 2016 revenue. FL Mobile and Showself had

been valued at approximately $621 million and $191 million, respectively. And moreover, the

Company admitted that the divesting of these assets would greatly reduce the Company’s revenues

and operating results. Accordingly, Defendants were paying close attention to FL Mobile and

Showself.

        104.    A strong inference of Defendants’ scienter is also demonstrated by the fact that the

Tongfang Transaction was not the first time that LKM and Shi had made fraudulent transfers of

the Company’s assets to an otherwise unannounced party or engage in other forms of corporate

fraud for his benefit.

        105.    Indeed, upon information and belief, Defendants stole two additional LKM assets

by transferring these assets to a mysterious third-party, as demonstrated by China’s public records.

By way of background, at all relevant times, LKM owns a subsidiary NQ Beijing, which in turn

owns Qing Yun Wu Xian, which is an investment entity that owns two highly profitable

businesses: SyberOS and Link Motion Rideshare (“Rideshare”).

        106.    Public Chinese financial records show that on October 20, 2018, NQ Mobile

transferred 100 percent of its interest in Qing Yun Wu Xian to a mysterious third-party named Zhu

Wei. Upon discovering that Qing Yun Wu Xian was transferred to this unknown third-party,

LKMForward, a LKM shareholder group, wrote an email to LKM’s board of directors requesting

an explanation. The responses from LKM’s board indicated that it was unaware that this transfer

had taken place. Upon information and belief, Defendants failed to disclose these material

transactions to its shareholders for the purpose of raiding the Company of its valuable assets.




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       107.    Shi engaged in other fraudulent and self-dealing transactions meant to rob LKM of

its assets and to benefit him personally. As alleged above, Zhongzhi, the entity to which LKM

owed the Convertible Note, was involved in these transactions. During the Relevant Period, both

Shi and Zhongzhi had an interest in Tongfang SPC. And notably, after the Tongfang Transaction

closed, Tongfang SPC owed LKM money in connection with the RMB 1.77 billion Senior Note.

In other words, and undisclosed to investors at the time, Shi and Zhongzhi, through Tongfang SPC,

owed LKM money. Moreover, in the fall of 2018, months after the purported closing of the

Tongfang Transaction, Shi found himself personally liable for millions of dollars of interest based

on an existing $132 million balance on the Convertible Note that LKM owed to Zhongzhi. With

payment coming due under the Convertible Note in October 2018, Shi was running out of time.

So, in mid-September 2018, Shi gave LKM’s RMB 1.77 billion Senior Note to Zhongzhi. In

exchange, LKM received nothing. In effect, it was a bribe to ensure that Zhongzhi would not force

LKM into default. And in so doing, Shi killed two birds with one stone: he saved himself million

dollars by not having to pay the personally-guaranteed interest on the Convertible Note, and, by

giving away the Senior Note, Shi ensured that Tongfang SPC (and accordingly he and Zhongzhi)

would not have to pay LKM. The facts related to this fraudulent transaction, referred to as the

“Pledge Transaction,” are specifically alleged below.

       108.    Likewise, during Shi’s absence, Shi engineered the “resignation” of Lin twice, once

from LKM and once from RPL, and went so far as to forge Lin’s signature to effectuate the

purported resignation.

       109.    A strong inference of Defendants’ scienter is also demonstrated by the fact that

shortly after Shi engineered the fraudulent and self-dealing Pledge Transaction, Defendants Xu

and Wu resigned.



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       110.    Likewise, a strong inference of Shi’s scienter is supported by the fact that the

Receiver removed Shi as Chairman of LKM in part because of Shi’s role in the Tongfang

Transaction and Shi’s other fraudulent conduct that exploited LKM and harmed its shareholders,

including robbing LKM of other valuable corporate assets for his own personal benefit.

       111.    In addition to the above allegations of scienter, Defendants Wu and Xu’s scienter

is supported by the fact that they signed SOX certifications attesting to the efficacy of the

Company’s internal controls and the accuracy of LKM’s financial statements in LKM’s 2016

Annual Report.     That Defendants intentionally and/or recklessly engaged in a self-dealing

transaction that divested LKM of two of its most valuable assets demonstrates that Wu and Xu

were reckless in making their SOX certifications or had actual knowledge of the falsity of these

statements. Moreover, in connection with the Company’s Internal Investigation, the Company

admitted that its internal controls and financial reporting were ineffective and needed to be

remediated. And furthermore, in connection with the Company’s notification of its delayed filing

of its 2017 20-F, the Company admitted that its financial statements from the second to the fourth

quarter of 2016 – and all of 2017 – were inaccurate and could not be relied upon.

               2) Motive And Opportunity

       112.    Defendants’ scienter is also supported by the fact that they had the motive and

opportunity to engage in the fraud. Indeed, leading up to 2017, Defendants had tried to sell FL

Mobile at least three times to no avail. In other words, Defendants were focused on the Tongfang

Transaction and intent on divesting FL Mobile and Showself.

       113.    Shi specifically was motivated to engage in the fraud. In addition to being able to

acquire corporate assets worth hundreds of millions of dollars, Shi sought to acquire these valuable

assets so that he could generate the cash necessary to pay the personally-guaranteed interest on the



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Convertible Note to Zhongzhi. Moreover, in giving away the Senior Note to Zhongzhi, Shi also

used the consideration from the Tongfang Transaction to avoid paying LKM on behalf of

Tongfang SPC.

       G. Loss Causation

       114.    In addition to the allegations herein, Defendants’ fraudulent conduct directly and

proximately caused Plaintiff to suffer substantial losses as a result of purchasing LKM securities

at artificially inflated prices during the Relevant Period.

       115.    Defendants, through their false and misleading statements and omissions,

concealed the truth about the Tongfang Transaction; in reality it was a self-dealing transaction

orchestrated by and for the benefit of Defendant Shi. By concealing, among other things, that

Tongfang SPC was an entity controlled by Shi and that FL Mobile and Showself would be

transferred to Shi, Defendants were able to execute the sale and allow Shi to make off with the

Company’s valuable assets at a significant discount.

       116.    However, on February 6, 2018, the false and misleading nature of Defendants’

statements and omissions was revealed, causing the value of LKM securities to decline and

economic harm to Plaintiff.

       117.    The disclosures made in the February 2018 Report were directly related to

Defendants’ fraudulent scheme. Defendants’ material misstatements and omissions concealed

from the market, among other things, the true and fraudulent nature of the Tongfang Transaction

such that Defendants were selling the Company’s valuable assets not to a legitimate and well-

funded party but to the Company’s own Chairman and CEO – and doing so on terms that were

significantly unfavorable to the Company.




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       118.    As a result of this negative information, the price of LKM’s ADS plummeted from

an opening price of $2.86 on February 6, 2018 to close that day at $1.68, a decline of 41.2 percent

on heavy trading.

       H. Presumption Of Reliance And Fraud-On-The-Market Doctrine

       119.    During the Relevant Period, Plaintiff reasonably relied on the materially false and

misleading statements and omissions alleged herein in reaching investment decisions concerning

LKM securities.

       120.    There is a presumption of reliance established by the fraud-on-the-market doctrine

because, among other things:

           a. Defendants made public misrepresentations or failed to disclose material
              facts during the relevant period;

           b. The misrepresentations and omissions were material;

           c. The Company’s securities traded in an efficient market;

           d. The misrepresentations and omissions alleged would induce a reasonable
              investor to misjudge the value of the Company’s securities; and

           e. Plaintiff purchased LKM securities between the time Defendants
              misrepresented or failed to disclose material facts, and the time the true
              facts were disclosed without knowledge of the misrepresented or omitted
              facts.

       121.    At all relevant times, the market for LKM’s securities was efficient for the

following reasons, among others:

           a. LKM’s common stock met the requirements for listing, was liquid, and was
              listed and actively traded on the NYSE, a highly efficient and automated
              market;

           b. As a regulated issuer, LKM filed periodic reports with the SEC;

           c. LKM regularly communicated with public investors via established market
              communication mechanisms, including through regular disseminations of
              press releases on the national circuits of major newswire services and

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               through other wide-ranging public disclosures, such as communications
               with the financial press and other similar reporting services; and

           d. LKM was covered by multiple analysts during the Relevant Period.

       122.    As a result of the foregoing, the market for LKM’s securities promptly digested

current information regarding LKM from all publicly available sources and reflected such

information in the price of LKM securities. Under these circumstances, a presumption of reliance

applies.

       123.    Plaintiff is also entitled to a presumption of reliance under Affiliated Ute Citizens

of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein against

Defendants are predicated upon omissions of material fact for which there was a duty to disclose.

       124.    In addition, Plaintiff directly relied on Defendants’ false and misleading statements

alleged herein when deciding to purchase LKM securities and/or hold LKM securities.

       I. No Safe Harbor

       125.    The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The specific statements pleaded herein were not “forward-looking statements” nor were they

identified as “forward-looking statements” when made. Nor was it stated with respect to any of

the statements forming the basis of this Complaint that actual results “could differ materially from

those projected.” To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements. Alternatively, to the

extent that the statutory safe harbor does apply to any forward-looking statements pled herein,

Defendants are liable for those false forward-looking statements because at the time each of those

forward-looking statements were made, the particular speaker knew that the particular forward-

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looking statement was false, and/or the forward-looking statement was authorized and/or approved

by an executive officer of LKM who knew that those statements were false when made.

       J. Plaintiff’s Purchases Of LKM Securities

       126.    Plaintiff purchased securities of LKM starting in 2014 and continued to purchase

LKM all the way through mid-2018, before realizing the full extent of Defendants’ securities fraud

and other fraudulent conduct and that, as a result, the Company was going to imminently be

delisted from the NYSE, leaving its shareholders with no value and little chance of recovery of the

underlying assets and/or businesses. A screenshot of Plaintiff’s purchases of LKM is below:




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   V.      DEFENDANTS’ MISCONDUCT OCCURING AFTER THE
           FRAUDULENT SECURITIES TRANSACTION

        127.   Incorporating the allegations set forth above regarding Plaintiff’s claims under the

federal securities laws (and referenced as Counts I-II below), Plaintiff also makes the following

allegations in connection with Plaintiffs’ common law equitable claims against Defendants.

   A. Defendant Shi Robs LKM Of Its Senior Note

        128.   After the Tongfang Transaction purportedly closed, Shi continued to loot LKM of

its valuable assets, leading to the Company being delisted from NYSE in January 2019 and

harming Plaintiff and the Company as a result.

        129.   As alleged above, at the time the Company entered into the Tongfang Transaction,

LKM owed Zhongzhi $220 million pursuant to the Convertible Note. By the fall of 2018, LKM

had paid $88 million on the note, leaving a balance of $132 million owed to Zhongzhi. Notably,

Shi had personally guaranteed the interest payable on this debt at a staggeringly high interest rate

of 10 percent per year plus an additional 2.5 percent interest on the balance after the maturity date,

due in October 2018. Accordingly, by the fall of 2018, Shi was running out of time.

        130.   And as alleged above, both Shi and Zhongzhi have an interest in Tongfang SPC.

Accordingly, the fact that Tongfang SPC owed money to LKM under the RMB 1.77 billion Senior

Note meant that both Shi and Zhongzhi actually owed LKM money. And Given the Company’s

then precarious financial condition, Zhongzhi wanted to ensure that it would be able to get paid at

minimum the $132 million owed to it under the Convertible Note before LKM went defunct.

        131.   Shi knew this. Shi used LKM’s existing assets to get himself out of debt and pay

off Zhongzhi. In exchange for absolutely no consideration to the Company or its shareholders,

Shi forced LKM to enter into the Pledge Transaction with Zhongzhi whereby LKM pledged to

Zhongzhi substantially all of the Company’s remaining valuable assets. Specifically, LKM

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pledged to give to Zhongzhi the Senior Note as well as LKM’s shares of NQ International Inc.

(“NQ International”), a LKM subsidiary which holds nearly every other revenue-generating

Company subsidiary (“Pledge Transaction”). In other words, Shi bribed Zhongzhi; in effect, he

gave Zhongzhi the overwhelming bulk of the Company’s assets in exchange for Zhongzhi’s not

calling in the Convertible Note – even though Zhongzhi did not formally agree to extend the

Convertible Note’s maturity date to the benefit of LKM. Accordingly, Shi accomplished two

things with this deal: by exploiting LKM, he got himself off the hook for the interest on the $132

million debt, and, because of his and Zhongzhi’s interest in Tongfang SPC, he freed both himself

and Zhongzhi of having to pay LKM under the Senior Note.

   B. Defendant Shi Orchestrates China AI’s Purchase Of Class B Shares

       132.    By the summer of 2018, Shi was under pressure, as LKM’s internal investigation

concerning his forced resignations of Li was nearing a result. Accordingly, Shi knew that his

imminent removal from the Company and its board of directors was possible.

       133.    To secure his control of LKM’s board of directors, Shi took action. And like the

Tongfang Transaction, he did so using a vehicle secretly owned and/or controlled by him.

Specifically, in a press release dated July 19, 2018, LKM announced that China AI Capital Limited

(“China AI”) had agreed to pay LKM $20 million to acquire over 70,000,000 Class B shares of

LKM (the “Class B Shares Transaction”). This transaction was effectuated, and China AI came

into possession of these shares. Based on LKM’s current shareholder registry, China AI still

retains its 70,175,439 Class B shares.

       134.    However, over two years after the Class B Shares Transaction, China AI has paid

at most only half of what it owes to LKM for these shares. Importantly, Class B shares confer




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significant voting power; each Class B share holds ten times the voting power of a Class A

common share of LKM.

       135.       As a result of the Class B Shares Transaction, China AI was able to place its two

principals, Yu “Bruson” Li (“Li”) and “Larry” Chi (“Chi”), on LKM’s Board of Directors, gaining

significant control of the Board as a result.

       136.       LKM hid the Class B Shares Transaction from its counsel at the time, Skadden,

Arps, Slate, Meagher & Flom LLP (“Skadden Arps”), and, when Skadden Arps learned of the

Class B Shares Transaction, the firm expressed that the Class B Shares Transaction had no

legitimate purpose.

       137.       The purpose of the Class B Shares Transaction was to install Shi’s proxies, Li and

Chi, on LKM’s board of directors and thereby allow Shi to retain control of LKM in the event of

his ouster. Accordingly, like Tongfang SPC, Shi used China AI as a vehicle to accomplish his

personal goals.

       138.       Indeed, China AI, like Tongfang SPC, is an entity owned by or controlled by Shi.

For example, Li and Chi have long-standing relationships with Shi. Li, who held 50% of the shares

of China AI at the time of the Class B Shares Transaction and subsequently became its sole

shareholder, was Vice Chairman of LKM from 2010 to 2015 – while Shi was its CEO and

Chairman. Moreover, prior to the Class B Shares Transaction, Shi had invested in HH-Medic, Inc.

(“HH Medic”), a Cayman Island company operating in Beijing and founded by Li, using LKM

funds. LKM currently owns over 11 percent of HH-Medic’s shares. A portion of the funds paid

to LKM in connection with the Class B Shares transaction was paid for by HH Medic.

       139.       Critically, to date, China AI has never paid in full for its Class B shares. Indeed,

$10 million of the $20 million remain outstanding according to LKM’s Shareholder Registry.



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Accordingly, China AI, and through China AI Shi, is attempting to exert control of the Company

to the detriment of the Company.

   VI.      CLAIMS FOR RELIEF

                                             COUNT I
                For Violations of Section 10(b) of the Exchange Act And Rule 10b-5
                                      (Against All Defendants)

         140.     Plaintiff repeats and realleges each and every paragraph contained above as if set

forth herein.

         141.     During the Relevant Period, Defendants made, disseminated or approved the false

and misleading statements specified above, which they knew or recklessly disregarded were false

and misleading in that the statements contained material misrepresentations and failed to disclose

material facts necessary in order to make the statements made, in light of the circumstances under

which they were made, not misleading.

         142.     Defendants violated Section 10(b) of the Exchange Act, 15 U.S.C. § 78j, and Rule

10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, in that they:

            a. Employed devices, schemes, and artifices to defraud;

            b. Made untrue statements of material fact or omitted to state materials facts
               necessary in order to make the statements made, in light of the
               circumstances under which they were made, not misleading; and/or

            c. Engaged in acts, practices and a course of business that operated as a fraud
               or deceit upon Plaintiff and others similarly situated in connection with their
               purchases of LKM securities during the relevant period.

         143.     Plaintiff has suffered damages in that, relying directly or indirectly upon the

materially false and misleading statements made by Defendants, and upon the integrity of the

market in which the Company’s securities trade, or upon the absence of material adverse

information that was known to or recklessly disregarded by Defendants, but not disclosed in public



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statements by Defendants, Plaintiff paid artificially inflated prices for LKM securities. Plaintiff

would not have purchased LKM securities at the prices paid, or at all, if Plaintiff had been aware

that the market prices of those securities had been artificially and falsely inflated by Defendants’

misleading statements.

       144.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff suffered

damages in connection with his purchases of LKM securities during the Relevant Period.

                                          COUNT II
                      For Violations of Section 20(a) of the Exchange Act
                             (Against the Individual Defendants)

       145.     Plaintiff repeats and realleges each and every paragraph contained above as if set

forth herein.

       146.     During the Relevant Period, the Individual Defendants acted as controlling persons

of LKM within the meaning of Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

       147.     Each of the Individual Defendants was a controlling person of LKM within the

meaning of Section 20(a) of the Exchange Act.

       148.     By virtue of their positions and their power to control public statements about

LKM, the Individual Defendants had the power and ability to influence and control the actions of

LKM and its employees, and did in fact influence and control, directly or indirectly, the decision-

making of the Company.

       149.     The Individual Defendants culpably participated in LKM’s violations of Section

10(b) and Rule 10b-5 with respect to the Count I, referenced above.

       150.     By reason of such conduct, the Individual Defendants are liable pursuant to Section

20(a) of the Exchange Act.




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                                         COUNT III
                          Maintaining Or Re-Appointing The Receiver

       151.     Plaintiff repeats and realleges each and every paragraph contained above as if set

forth herein.

       152.     Plaintiff alleges this claim for relief in equity as provided for in the Exchange Act

and separately in connection with Plaintiff’s equitable claims.

       153.     On February 1, 2019, the Court appointed Robert W. Seiden as the Receiver in this

action (“Receiver Order”).

       154.     For all the reasons set forth in the Receiver Order, the Court should issue an order

maintaining the appointment of the Receiver or allow the Receiver to continue overseeing,

monitoring, and lawfully controlling LKM until such time as the Court deems the Receivership to

be no longer necessary.

       155.     Moreover, due to the wrongful conduct herein, which includes, inter alia,

Defendants’ theft of LKM assets, engaging in self-dealing fraudulent transactions that exploited

LKM and harmed LKM’s shareholders, abandonment of business lines and operations, and failure

to properly manage the Company in material ways, the Receiver is necessary to: (i) prevent the

further dissipation of the Company and its assets; (ii) take the necessary steps in China to claw

back the assets that were wrongfully transferred out of the ownership of the Company; and (iii)

manage the Company’s operations and restore value to the Company and its shareholders.

                                           COUNT IV
                                        Unjust Enrichment
                                          (Against Shi)

       156.     Plaintiff repeats and realleges each and every paragraph contained above as if set

forth herein.




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        157.    By his wrongful acts and omissions, Shi has been and continues to be unjustly

enriched at the expense of and to the detriment of Plaintiff and LKM, and the circumstances require

relief in equity and good conscious.

        158.    Shi has gained the benefit of ownership of certain assets belonging to LKM at the

expense of LKM losing said assets.

        159.    Because Shi has gained this benefit at the expense of LKM, equity and good

conscious requires that Defendant and/or LKM be afforded restitution.

                                            COUNT V
                                        Common Law Fraud
                                      (Against All Defendants)

        160.    Plaintiff repeats and realleges each and every paragraph contained above as if set

forth herein.

        161.    Plaintiff brings this claim directly against all Defendants.

        162.    Defendants made material misrepresentations of material fact and/or omitted

material facts as set forth above.

        163.    These misrepresentations and/or omissions were made intentionally, or at a

minimum, recklessly, to induce reliance by Plaintiff when making decisions to invest in LKM

securities.

        164.    These misrepresentations and/or omissions constitute fraud and deceit under the

common law.

                                             COUNT VI
                                     Negligent Misrepresentation
                                      (Against All Defendants)

        165.    Plaintiff repeats and realleges each and every paragraph contained above as if set

forth herein.



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         166.   Plaintiff brings this claim directly against all Defendants.

         167.   As to this Cause of Action, Plaintiff expressly disclaims any allegation of fraud or

intentional misconduct.

         168.   Defendants authorized or caused the representations and/or omissions set forth

above.

         169.   Defendants supplied false information for use by Plaintiff in making an investment

decision.

         170.   Defendants made misrepresentations that they knew, or should have known, to be

false in order to induce Plaintiff to purchase LKM securities.

         171.   Defendants breached their duty to exercise reasonable care in making these

misrepresentations to Plaintiff.

         172.   Moreover, Defendants had a duty to disclose certain information to Plaintiff, as

alleged above. Defendants breached that duty by failing to disclose such information.

         173.   Plaintiff reasonably relied on the information Defendants provided and were

damaged as a result of these misrepresentations and omissions.

         174.   Plaintiff would not have purchased LKM securities at all, or at the inflated prices

they paid, had they known the true facts.

         175.   By reason of the foregoing, Defendants are liable to Plaintiff for negligent

misrepresentation.

         176.   As a direct and proximate result of Defendants’ negligent misrepresentations,

Plaintiff has suffered damages in an amount to be proven at trial.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests relief and judgment as follow:

       (a) Awarding compensatory damages against Defendants for all damages sustained as a

          result of Defendants’ wrongdoing, in an amount to be proven at trial, including pre-

          judgment and post-judgment interest thereon;

       (b) Awarding punitive damages against Defendants;

       (c) Appointing or maintaining the appointment of the Receiver to assume or continue to

          assume full control over the Company, its assets, and its employees;

       (d) Awarding Plaintiff his reasonable costs and expenses incurred in this action; and

       (e) Such other and further relief as the Court may deem just and proper.


                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury as to all issues so triable.

Dated: October 5, 2020
New York, New York

                                                      SEIDEN LAW GROUP LLP


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                                                      Counsel for Plaintiff Baliga




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day I caused a true and correct copy of the foregoing to be

filed using the Court’s Electronic Filing System (“ECF System”). The document is available for

viewing and downloading via the ECF System and will be served by operation of the ECF

System upon all counsels of record.




Dated: October 5, 2020                                       SEIDEN LAW GROUP LLP


                                                             /s/ Jake Nachmani
                                                                 Jake Nachmani




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